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 5
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. 2:07-CR-0025
                                           )
12                      Plaintiff,         )
                                           )   GOVERNMENT’S MOTION TO DISMISS
13   v.                                    )   INDICTMENT & ORDER THEREON
                                           )
14   KHIN “KENNY” UNG,                     )
                                           )
15                      Defendant.         )
                                           )
16                                         )
17
18        Pursuant to Rule 48 of the Federal Rules of Criminal Procedure,
19   the United States hereby moves the Court, in the interest of justice,
20   for an order dismissing the Superseding Indictment in this case
21   against defendant Khin “Kenny” Ung only.       The government has decided
22   not to retry the defendant following the jury’s inability to reach a
23   unanimous verdict.
24   DATED: January 04, 2012
25                                          BENJAMIN B. WAGNER
                                            United States Attorney
26
27                                       By: /s/ Heiko P. Coppola
                                            HEIKO P. COPPOLA
28                                          Assistant U.S. Attorney

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10
11   UNITED STATES OF AMERICA,             )   CASE NO. 2:07-CR-0025
                                           )
12                      Plaintiff,         )
                                           )             ORDER
13   v.                                    )
                                           )
14   KHIN “KENNY” UNG,                     )
                                           )
15                      Defendant.         )
                                           )
16                                         )
17
18
                                      O R D E R
19
          In view of the instant motion, and GOOD CAUSE APPEARING
20
     THEREFORE, IT IS HEREBY ORDERED that the Superseding Indictment
21
     against defendant Khin “Kenny” Ung only in the above-captioned action
22
     is hereby dismissed.
23
     DATED: January 4, 2012
24
                                            /s/ Edward J. Garcia
25                                          U.S. District Judge
26
27
28

                                           2
